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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                NEWPORT NEWS DIVISION

  PATRICIA E. MULLINEX ,                            )
  Individually and as Executor of the               )
  Estate of Herbert H. Mullinex, Jr.                )
                                                    )
                         Plaintiff,                 )
  v.                                                )      Case No. 4:18-cv-00033-RAJ-DEM
                                                    )
  JOHN CRANE, INC., et al.                          )
                                                    )
                         Defendants.                )


                   DEFENDANT JOHN CRANE INC.’S SUPPLEMENTAL
                        MOTION FOR SUMMARY JUDGMENT

         Defendant John Crane Inc. (“JCI”), by counsel and pursuant to this Court’s May 25, 2022

  Order [ECF No. 543], Federal Rule of Civil Procedure 56, and Local Rule of Civil Procedure 56,

  submits this Supplemental Motion for Summary Judgment. The bases for JCI’s Motion are set

  forth in the accompanying Memorandum that is being filed contemporaneously herewith.

  Dated: June 14, 2022

                                                    Respectfully submitted,
                                                    JOHN CRANE INC.
                                                    Defendant

                                             By:    /s/ Eric G. Reeves
                                                             Counsel

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 14th day of June, 2022, a true and accurate copy of the

  foregoing was filed electronically using the CM/ECF system, which will then send a notification

  of such filing (NEF) to all counsel of record.

                                        /s/ Eric G. Reeves
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